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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                        Civil Action No.
------------------------------------------------------------X
JOHN DOE,                                                           Plaintiff Demands
                                                                    A Trial by Jury

                                   Plaintiff,

                 -against-

                                                                COMPLAINT
GRINDR, LLC; KL GRINDR HOLDINGS, INC.,
GRINDR HOLDING COMPANY, and
AARON WEINREB,

                                    Defendants.
-----------------------------------------------------------X


    Plaintiff “JOHN DOE” (referred to herein as “Plaintiff” and/or “JOHN DOE”), by his attorney,

DEREK SMITH LAW GROUP, PLLC, hereby complains of the Defendant GRINDR, LLC,

Defendant KL GRINDR HOLDINGS, INC., Defendant GRINDR HOLDING COMPANY

(collectively referred to herein as “GRINDR”) and Defendant AARON WEINREB (referred to

herein as “WEINREB”)(Collectively referred to as “Defendants”), upon information and belief,

as follows:



                                           NATURE OF THE CASE

    1. Defendant GRINDR knowingly facilitates and contributes to sexual abuse, rape and

trafficking of minor children for profit.

    2. From approximately May 2019 through October 2019, Defendant WEINREB, a 48-year-

old obstetrician-gynecologist, used the geosocial networking and online dating application,

”Grindr”, to meet, solicit and entice minors to engage in oral and anal sex. Knowing his victims
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were underage, the Defendant WEINREB successfully enticed two minors to engage in sex with

him on multiple occasions.1 Plaintiff John Doe is one of those minors.2

      3. This action seeks, inter alia, to hold Defendant GRINDR accountable, not for the content

of what its users post, but rather, 1) for providing access to children to create “Grindr” accounts to

then engage in sex with adult men; 2) for violating the Trafficking Victims Protection Act and

RICO; 3) for misrepresenting on its website that children do not have the possibility of using their

online sex platform; and 4) for failing to warn the public and its users that its sex platform is

frequently used by underage boys who are victims of sexual predators they meet on GRINDR.

      4. Plaintiff complains pursuant to 18 U.S. Code § 1591 Sex trafficking of children or by force,

fraud, or coercion (“Section 1591”), The Racketeer Influenced and Corrupt Organizations Act

(“RICO”) 18 U.S.C. §§ 1961(3) and 1962(c), The New York State Executive Law, and the New

York City Human Rights Law, New York City Administrative Code § 8-502(a), et. seq.

(“NYCHRL”), New York Common Law, and seeks damages to redress the injuries Plaintiff has

suffered as a result of being sexually abused and sexually assaulted.



                                        JURISDICTION AND VENUE

      5. Jurisdiction of this action is conferred upon the court as this action involves a Federal

Question under Section 1591 as well as RICO. The Court also has supplemental jurisdiction over

the State and City Causes of Action.

      6. GRINDR extensively and intentionally markets to New York residents, including Plaintiff.

      7. The Grindr mobile app was downloaded in the State of New York.

      8. GRINDR sent data to and from New York within its internet platform.


1
    See U.S. District Attorney’s 1/14/20 Letter filed in U.S.D.C./EDNY Criminal case 1:20-cr-00006-BMC
2
    Plaintiff John Doe recently turned 18 and is no longer a minor.
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   9. GRINDR services and supports hundreds of thousands of accounts in New York.

   10. Venue is proper in this district based upon Defendants’ residency and that a substantial part

of the events or omissions giving rise to the claim occurred within the County of Kings, State of

New York, within the Eastern District of New York. 28 U.S.C. §1391(b).



                                              PARTIES

   11. Plaintiff JOHN DOE is a male who at all times relevant was under the age of 18.

   12. Defendant Grindr, LLC is a Limited Liability Company organized in the State of California

with its principal place of business in West Hollywood, California.

   13. Upon information and belief Grindr, LLC has two corporate members: KL Grindr Holdings

Inc. and Grindr Holding Company.

   14. Defendant KL Grindr Holdings, Inc., is, upon information and belief, incorporated under

the laws of Delaware with a principal place of business in China.

   15. Defendant Grindr Holding Company is, upon information and belief, incorporated under

the laws of Delaware and has its principal place of business in California.

   16. The above defendants are collectively referred to herein as “GRINDR.”

   17. Defendant AARON WEINREB is a male residing in the State of New York, County of

Kings.



                                               FACTS

   18. “Grindr” is a website and also a smartphone application designed and used to facilitate sex

between men.
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   19. As stated in The Southern California Interdisciplinary Law Journal article, “BACK TO

THE GRIND: RETHINKING GRINDR’S ACCOUNTABILITY FOR USER CONTENT” by

JULIE KVEDAR, “Grindr only legally permits adults to join, but underage users can easily

circumvent its age restriction mechanisms, and the app markets indiscriminately towards a young

demographic. In creating a Grindr profile, users may encounter just a single notification that the

app is for adults only: the requirement of entering one’s birth date. As a result of its flimsy age

verification process and its indiscriminate marketing, Grindr poses risks to both minors and

adults.”

   20. Defendant GRINDR is not immune from responsibility for allowing male children to sign

up for “Grindr” and then be sexually assaulted and statutorily raped.

   21. Section 230 of the Communications Decency Act of 1996 (the “CDA”), 47 U.S.C. § 230

provides certain immunity for websites for claims arising from information published by third

parties. “The majority of federal circuits have interpreted [§ 230(c) ] to establish broad federal

immunity to any cause of action that would make service providers liable for information

originating with a third-party user of the service.” Almeida v. Amazon.com, Inc., 456 F.3d

1316, 1321 (11th Cir. 2006) (internal quotation marks omitted). (emphasis added) Herrick v Grindr

LLC, 765 Fed Appx 586, 589 [2d Cir 2019], cert denied, 140 S Ct 221, 205 L Ed 2d 135 [2019].

   22. Section 230 is inapplicable to these claims. The herein claims against GRINDR are not

based on any content or information by third parties. Rather, the claims herein against GRINDR

are based on, inter alia, access: access by minors to its sex connection platform. The claims herein

are also based on failure to warn.

   23. The herein claims against GRINDR are also based on its liability under 18 U.S.C. 1591.
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      24. 18 U.S.C. § 2421A entitled, “Promotion or facilitation of prostitution and reckless

disregard of sex trafficking” amends Section 230(e) stating, ‘‘(5) NO EFFECT ON SEX

TRAFFICKING LAW.—Nothing in this section (other than subsection (c)(2)(A)) shall be

construed to impair or limit— ‘‘(A) any claim in a civil action brought under section 1595 of title

18, United States Code, if the conduct underlying the claim constitutes a violation of section 1591

of that title.”

      25. The herein claims against GRINDR are further based on its very own content where it

states in its “Terms of Use” that a minor may not use its service. Specifically, GRINDR’s website

misleads the public stating “NO PERSONS UNDER THE AGE OF EIGHTEEN (18) YEARS

(OR TWENTY-ONE (21) YEARS IN PLACES WHERE EIGHTEEN (18) YEARS IS NOT THE

AGE OF MAJORITY) MAY DIRECTLY OR INDIRECTLY VIEW, POSSESS OR

OTHERWISE USE THE GRINDR SERVICES.” https://www.grindr.com/terms-of-service/

      26. Definition 1(a) of the word “may” according to Merriam-Webster is “used to indicate

possibility or probability.” 3 Thus, the affirmative statement by GRINDR that no child “may . .

. use the Grindr services” is a representation that it is not possible for a child to use the GRINDR

services. This is blatantly false since it is certainly possible for a child to use the GRINDR

services. A child merely enters in a different birth year to sign up on GRINDR and the world of

sex with adult men is instantly open to these children.

      27. Parents of minor boys are not alerted to the fact that their boys have the ability to sign

up for sex with men on GRINDR. Instead, GRINDR represents to the world that children do not

have the possibility of signing up on their website or app. This is not true.




3
    https://www.merriam-webster.com/dictionary/may
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    28. GRINDR has longstanding actual and constructive knowledge that its website and App

are regularly used by underage boys:

    “Despite Grindr’s Terms and Conditions insisting the contrary, both case law and anecdotal
evidence suggest that plenty of Grindr users are younger than eighteen. The only restrictions on
underage users creating a Grindr account are entering one’s birth date and accepting the Terms &
Conditions; both are easily circumvented. Grindr’s emphasis on anonymity makes it easy for
underage users to go unnoticed. Users are not required to include a picture or list their age in their
profile to interact with other users. Grindr may seem like a fun, exciting online platform where
young men who are curious about other men can spend time—indeed, for many young men, it
likely serves exactly that purpose. However, Grindr poses a number of risks to those underage
teens who make their way on to the platform. Indeed, by marketing itself to young MSM without
meaningfully blocking users who are under eighteen, Grindr creates a platform that facilitates harm
to minors.” 4


    29. See also “Men in jail after 13-year-old poses as 18 on Grindr in Layton” June 9, 2015.

https://www.qsaltlake.com/news/2015/06/09/men-in-jail-after-13-year-old-poses-as-18-grindr-

layton-utah.

    30. See also: “More than half of underage gay teens use Grindr to find a community” May 21,

2018 https://www.gaystarnews.com/article/underage-gay-teens-grindr-community/

    31. A Northwestern Medicine study (published in the Journal of Adolescent Health) found that

more than 50 percent of sexually active gay and bisexual boys ages 14 to 17 use dating (also known

as hook-up) apps like “Grindr” (21+) and “Scruff” (18+) to find new friends and boyfriends.5

    32. Moreover, Defendant GRINDR is aware that underage users sign up for their sex service

thereby exposing themselves to the possibility of grown men sexually assaulting and statutorily

raping these underage users. (“Grindr does not condone illegal or improper behavior and we are




4
  The Southern California Interdisciplinary Law Journal article, “BACK TO THE GRIND: RETHINKING
GRINDR’S ACCOUNTABILITY FOR USER CONTENT” by JULIE KVEDAR,
5
  https://www.jahonline.org/article/S1054-139X(18)30008-9/abstract
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troubled that an underage person may have been using our app in violation of our terms of service,”

a GRINDR spokesperson said to the Tribune.” 6

    33. According to The Times newspaper in 2019, “Detectives have investigated more than 30

incidents of child rape since 2015 where victims evaded age checks on dating apps only to be

sexually exploited. One 13-year-old boy on Grindr was raped or abused by at least 21 men.

Documents reveal 60 further cases of child sex offences via online dating services, including

grooming, kidnapping and violent sexual assault.” 7

    34. A recent investigation into Tinder, Bumble, and Grindr showed serious flaws. The

investigation, which was launched in January 2020 by Raja Krishnamoorthi, the Chairman of the

Subcommittee on Economic and Consumer Policy (USA), found that through enabling underage

use, these apps had facilitated 60+ cases of sexual abuse of children and 30 cases of rape of a

minor.

    35. See also “Man who is accused of raping 12-year-old boy says they met on dating app [Grindr]”

August 22, 20178

    36. The GBH News Center for Investigative Reporting reported, “the app is teeming with

underage gay, bisexual and questioning boys, according to researchers, child exploitation

specialists and users like Chavez who say they can easily lie about their age to gain access to the

service. an investigation by the the GBH News Center for Investigative Reporting finds that too

often the adult men they meet are dangerous and the encounters can lead to sexual exploitation,

assault and trafficking.” ““It creates an easy place for sexual predators to look for these kids,” said


6
  https://southfloridagaynews.com/National/study-gay-bisexual-teens-use-grindr-to-find-friends-and-
relationships.html
7
  https://www.thetimes.co.uk/article/revealed-the-child-victims-of-dating-apps-p3wfv83ml
8
  https://bakersfieldnow.com/news/local/man-accused-of-raping-12-year-old-boy-said-met-on-dating-app
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Jack Turban, a fellow in child and adolescent psychiatry at Stanford University School of

Medicine. “Grindr is also at fault for knowing that this is happening and not doing anything about

it.””9

    37. The above shows just a sampling of the extensive knowledge GRINDR has from third party

sources that its sex platform is used by children who are sexually assaulted by its users. GRINDR

fails to warn underage users and their parents that its sex platform is frequently used by pedophiles

and other sexual predators to sexually abuse minor children.

    38. In Doe v Internet Brands, Inc., 824 F3d 846, 851 [9th Cir 2016], the Court held that 47

U.S.C. § 230 did not protect a website from a failure to warn cause of action. Just like the plaintiff

in Doe v Internet Brands, Inc. Id., plaintiff herein “does not seek to hold [GRINDR] liable as a

“publisher or speaker” of content someone posted on the [] website, or for [GRINDR’S] failure to

remove content posted on the website.” The Court of Appeals in Doe v Internet Brands, Inc.,

stated, “Jane Doe herself posted her profile, but she does not seek to hold Internet Brands liable

for its content.” . . . “Jane Doe does not claim to have been lured by any posting that Internet

Brands failed to remove. Internet Brands is also not alleged to have learned of the predators'

activity from any monitoring of postings on the website, nor is its failure to monitor postings at

issue.” Id. Likewise, Plaintiff herein posted his profile, but does not seek to hold GRINDR liable

for its content. Moreover, Plaintiff herein does not claim to have been lured by any posting that

GRINDR failed to remove. GRINDR is not alleged to have learned of Defendant WEINREB’s

activity from any monitoring of postings on the app or website. The Court in Doe v Internet Brands,

Inc. noted that “Jane Doe attempts to hold Internet Brands liable for failing to warn her about



9
 https://www.wgbh.org/news/national-news/2021/07/12/popular-gay-dating-app-grindr-poses-exploitation-risk-to-
minors
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information it obtained from an outside source about how third parties targeted and lured victims

through Model Mayhem.” Id. Likewise, Plaintiff herein seeks to hold GRINDR liable for failing

to warn him about information GRINDR obtained from outside sources how third parties target

and lure children victims through the GRINDR platform. This is in addition to GRINDR’s

improperly providing children with access to its sex platform, also having nothing to do with

content that is posted on its platform. This is also in addition to GRINDR misrepresenting to the

public that it is not possible for children to use its platform through the misleading use of the word

“may” also having nothing to do with content posted by third parties.

      39. Defendant WEINREB, ostensibly, initially believed Plaintiff JOHN DOE was over the age

of 18 when they met,      10
                               because GRINDR blatantly allows minors improper access by simply

clicking that they are over 18, even if they are not.

      40. With respect to improperly providing children with access to GRINDR, there are

numerous, easy ways for GRINDR to verify the age of its users all of which they actively choose

to disregard instead focusing on profit over safety. For example, www.agechecked.com is one such

company that can verify a website user’s age. agechecked.com represents, “You can be safe in the

knowledge that our sophisticated solution will be able to identify any underage consumers quickly

and effectively without hindering the purchase potential of suitable buyers.” Another company,

GETID, utilizes a “multi-layered verification system [that] prevents underage users from

bypassing the system. By requiring all users to verify their identity, underage users will now be

subject to Biometric Facial Recognition software and Liveness Detection, as well as having to

submit official documentation.”




10
     See Weinreb’s sentencing memo Document #48 1:20-cr-00006-BMC
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       41. We “card” people at bars to make sure they are old enough to drink. People are “carded”

in order to gain access to strip clubs. Why should access to online sex platforms be any different?

       42. “Dean Nicolls, VP of global marketing at Jumio, suggests that users should take picture of

their government IDs with their smartphone, and dating apps should use identification verification

companies to analyse the picture of the ID and determine if it is authentic or if it has been digitally

altered. As an extra step, they should request a selfie – just in case the ID was stolen – and compare

the person in the picture on the ID. They can then also extract the data of birth from the IDs.

According to Dr. Nicolls, “[t]he entire process takes less than one minute and establishes the real

identity and age of every user.” 11

       43. These simple measures have been taken by numerous companies willing to take

responsibility for their platform. By way of example, since 2013, Airbnb has required ID

verification whereby users are required to upload a picture of a government issued identification

such as a Driver’s license, passport, or National identity card.12 By requiring ID verification,

Airbnb can verify that users are who they say they are.

       44. Additionally, the social connection website/app, Yubo, does, in fact utilize age verification.

Yubo utilizes “age scan technology” from the age verification company, Yoti, which uses artificial

intelligence and facial recognition software to verify a person’s age.13

       45. Unfortunately, Defendant GRINDR does not and did not take any such verification

measures despite knowing that underage children use their sex platform and despite the ease with

which age verification can be incorporated into their platform.



11
     See www.information-age.com/tinder-grindr-age-verification-technology-123479331.
12
   https://www.igms.com/airbnb-id-verification/ and https://www.airbnb.com/help/article/1237/verifying-your-
identity
13
   https://www.information-age.com/tinder-grindr-age-verification-technology-123479331/
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     46. Defendant GRINDR does not and did not take any such verification measures because they

prefer to have underage male subscribers who boost their revenues.

     47. “Grindr intentionally makes signing up easy for prospective users, including those who are

underage, because having more users benefits the company’s bottom line. The more users Grindr

has, the higher its profits: 75 percent of its revenue comes from its subscription services, and 25

percent comes from its advertisers. Both revenue sources ostensibly depend on having a large user

population. Interestingly, Grindr announced in August 2018 that it planned to go public.

Apparently, it had been courting investors by revealing that it had been ‘continuously profitable’

for three years based on premium subscriptions. Critics argue that Grindr has an incentive to turn

a blind eye to underage users because those additional users increase its profits.” 14




                            AS A FIRST CAUSE OF ACTION
                      TRAFFICKING VICTIMS’ PROTECTION ACT (TVPA)
                                  (As against all Defendants)

     48. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

        this Complaint as if set forth herein more fully at length.

     49. 47 USCA § 230 states, “Nothing in this section (other than subsection (c)(2)(A)) shall be

        construed to impair or limit--(A) any claim in a civil action brought under section 1595 of

        Title 18, if the conduct underlying the claim constitutes a violation of section 1591 of that

        title.” 47 USCA § 230

     50. § 1591. Sex trafficking of children or by force, fraud, or coercion states as follows:

         (a) Whoever knowingly--



 The Southern California Interdisciplinary Law Journal article, “BACK TO THE GRIND: RETHINKING
14

GRINDR’S ACCOUNTABILITY FOR USER CONTENT” by JULIE KVEDAR,
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      (1) in or affecting interstate or foreign commerce, or within the special maritime and
      territorial jurisdiction of the United States, recruits, entices, harbors, transports, provides,
      obtains, advertises, maintains, patronizes, or solicits by any means a person; or
      (2) benefits, financially or by receiving anything of value, from participation in a venture
      which has engaged in an act described in violation of paragraph (1),
      knowing, or, except where the act constituting the violation of paragraph (1) is advertising,
      in reckless disregard of the fact, that means of force, threats of force, fraud, coercion
      described in subsection (e)(2), or any combination of such means will be used to cause the
      person to engage in a commercial sex act, or that the person has not attained the age of 18
      years and will be caused to engage in a commercial sex act, shall be punished as provided
      in subsection (b).
      (b) The punishment for an offense under subsection (a) is--
      (1) if the offense was effected by means of force, threats of force, fraud, or coercion
      described in subsection (e)(2), or by any combination of such means, or if the person
      recruited, enticed, harbored, transported, provided, obtained, advertised, patronized, or
      solicited had not attained the age of 14 years at the time of such offense, by a fine under
      this title and imprisonment for any term of years not less than 15 or for life; or
      (2) if the offense was not so effected, and the person recruited, enticed, harbored,
      transported, provided, obtained, advertised, patronized, or solicited had attained the age of
      14 years but had not attained the age of 18 years at the time of such offense, by a fine under
      this title and imprisonment for not less than 10 years or for life.
      (c) In a prosecution under subsection (a)(1) in which the defendant had a reasonable
      opportunity to observe the person so recruited, enticed, harbored, transported, provided,
      obtained, maintained, patronized, or solicited, the Government need not prove that the
      defendant knew, or recklessly disregarded the fact, that the person had not attained the age
      of 18 years.
      (d) Whoever obstructs, attempts to obstruct, or in any way interferes with or prevents the
      enforcement of this section, shall be fined under this title, imprisoned for a term not to
      exceed 25 years, or both.
      (e) In this section:
      (1) The term “abuse or threatened abuse of law or legal process” means the use or
      threatened use of a law or legal process, whether administrative, civil, or criminal, in any
      manner or for any purpose for which the law was not designed, in order to exert pressure
      on another person to cause that person to take some action or refrain from taking some
      action.
      (2) The term “coercion” means--
      (A) threats of serious harm to or physical restraint against any person;
      (B) any scheme, plan, or pattern intended to cause a person to believe that failure to perform
      an act would result in serious harm to or physical restraint against any person; or
      (C) the abuse or threatened abuse of law or the legal process.
      (3) The term “commercial sex act” means any sex act, on account of which anything of
      value is given to or received by any person.
      (4) The term “participation in a venture” means knowingly assisting, supporting, or
      facilitating a violation of subsection (a)(1).
      (5) The term “serious harm” means any harm, whether physical or nonphysical, including
      psychological, financial, or reputational harm, that is sufficiently serious, under all the
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      surrounding circumstances, to compel a reasonable person of the same background and in
      the same circumstances to perform or to continue performing commercial sexual activity
      in order to avoid incurring that harm.
      (6) The term “venture” means any group of two or more individuals associated in fact,
      whether or not a legal entity.
      18 USCA § 1591


   51. Additionally, 18 USCA § 1595. Civil remedy states as follows:

       (a) An individual who is a victim of a violation of this chapter may bring a civil action
      against the perpetrator (or whoever knowingly benefits, financially or by receiving
      anything of value from participation in a venture which that person knew or should have
      known has engaged in an act in violation of this chapter) in an appropriate district court of
      the United States and may recover damages and reasonable attorneys fees.
      (b)(1) Any civil action filed under subsection (a) shall be stayed during the pendency of
      any criminal action arising out of the same occurrence in which the claimant is the victim.
      (2) In this subsection, a “criminal action” includes investigation and prosecution and is
      pending until final adjudication in the trial court.
      (c) No action may be maintained under subsection (a) unless it is commenced not later than
      the later of--
      (1) 10 years after the cause of action arose; or
      (2) 10 years after the victim reaches 18 years of age, if the victim was a minor at the time
      of the alleged offense.

   52. Broad, expansive language is employed in Trafficking Victims Protection Act (TVPA) and

      its remedial provision, which permits civil actions for damages under TVPA. Noble v

      Weinstein, 335 F Supp 3d 504 [SDNY 2018], mot to certify appeal denied, 17-CV-09260

      (AJN), 2019 WL 3940125 [SDNY Aug. 5, 2019]

   53. Defendants subjected Plaintiff to commercial sex acts by force, coercion and that Plaintiff

      was under the age of 18, including both physical and financial.

   54. GRINDR engaged “in reckless disregard of the fact, that means of force, threats of force,

      fraud, coercion described in subsection (e)(2), or any combination of such means will be

      used to cause the person to engage in a commercial sex act, or that the person has not

      attained the age of 18 years and will be caused to engage in a commercial sex act, will be

      punished as provided in subsection (b).” 18 USC 1591 (emphasis added)
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       55. A commercial sex act means any sex act, on account of which anything of value is given

           to or received by any person. The specific conditions are the use of force, fraud, or coercion,

           or conduct involving persons under the age of 18. See the Department of Justice’s

           definition:. “Section 1591 criminalizes sex trafficking, which is defined as causing a person

           to engage in a commercial sex act under certain statutorily enumerated conditions. A

           commercial sex act means any sex act, on account of which anything of value is given to

           or received by any person. The specific conditions are the use of force, fraud, or coercion,

           or conduct involving persons under the age of 18.” 15

       56. Defendant GRNDR violated Section 1591 by knowingly benefitting financially from

           participation in a venture which has engaged in an act described in violation of paragraph

           (1),

       57. Defendant GRINDR further engaged in advertising on its app and website “in reckless

           disregard of the fact, that means of force, threats of force, fraud, coercion described in

           subsection (e)(2), or any combination of such means will be used to cause the person to

           engage in a commercial sex act, or that the person has not attained the age of 18 years and

           will be caused to engage in a commercial sex act, shall be punished as provided in

           subsection (b).”

       58. Defendants, through their above actions and nonfeasance, furthered the sex trafficking

           venture. Such conduct was undertaken with the knowledge, or in reckless disregard of the

           fact, that it was furthering the herein sex trafficking venture. See Noble v. Weinstein, 335

           F. Supp. 3d 504, 524 (S.D. N.Y. 2018)

       59. All Defendants are liable to Plaintiff under 18 USCA § 1591 and 1595.



15
     https://www.justice.gov/crt/involuntary-servitude-forced-labor-and-sex-trafficking-statutesenforced
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                                 SECOND CAUSE OF ACTION
               The Racketeer Influenced and Corrupt Organizations Act (“RICO”)
                                   (As against all Defendants)
60. Plaintiff realleges and incorporates herein by reference each and every foregoing paragraph of

   this Complaint as if set forth in full.

61. At all relevant times, Plaintiff is a person within the meaning of 18 U.S.C. §§ 1961(3) and

   1962(c).

62. At all relevant times, each Defendant is a person within the meaning of 18 U.S.C. §§

   1961(3) and 1962(c).

63. 18 U.S.C. § 1962. Section 1962(c) of the act renders it unlawful “for any person employed by

   or associated with any enterprise engaged in, or the activities of which affect, interstate or

   foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

   enterprise's affairs through a pattern of racketeering activity.” Congress passed RICO in 1970

   with the broad aim of eradicating organized crime and corrupt business activity, proclaiming

   the statute's provisions “shall be liberally construed to effectuate its remedial purposes.”

   Organized Crime Control Act of 1970, Pub. L. No. 91–452, § 904(a), 84 Stat. 922, 947

   (1970); see also, e.g., Boyle v. United States, 556 U.S. 938, 944, 129 S.Ct. 2237, 173 L.Ed.2d

   1265 (2009); United States v. Turkette, 452 U.S. 576, 587, 101 S.Ct. 2524, 69 L.Ed.2d 246

   (1981).

64. At all times material, Defendants were not only perpetrators under RICO but also conspirators

   under RICO. Those who conspire to violate RICO also fall within the statute's broad purview.

   18 U.S.C. § 1962(d). And the statute provides civil remedies to “[a]ny person injured in [her]

   business or property by reason of” the enterprise's racketeering activities, permitting the
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   recovery of treble damages and attorneys fees. 18 U.S.C. § 1964(c). Kruse v. Repp, No.

   419CV00106SMRSBJ, 2020 WL 1317479, at *16 (S.D. Iowa Mar. 20, 2020)

65. To state a claim under § 1962(c), Plaintiff must plead facts that, if proven, demonstrate “(1)

   the conduct (2) of an enterprise (3) through a pattern of racketeering activity.” Salinas v. United

   States, 522 U.S. 52, 62, 118 S.Ct. 469, 139 L.Ed.2d 352 (1997) (citing Sedima, S.P.R.L. v.

   Imrex Co., 473 U.S. 479, 496, 105 S.Ct. 3275, 87 L.Ed.2d 346 (1985)). Kruse v. Repp, No.

   419CV00106SMRSBJ, 2020 WL 1317479, at *16 (S.D. Iowa Mar. 20, 2020)

66. At all times material, Defendants were an enterprise under RICO.

67. At all relevant times, the enterprise was engaged in, and its activities affected interstate

   and foreign commerce within the meaning of 18 U.S.C. § 1962(c).

68. At all times material, Defendants GRINDR, LLC, KL GRINDR HOLDINGS, INC., and

   GRINDR HOLDING COMPANY are each a “legal entity” and therefore an “enterprise under

   the RICO Act. A RICO “enterprise” is the vehicle through which a defendant conducts an

   unlawful pattern of racketeering activity, Nat'l Org. for Women, Inc. v. Scheidler, 510 U.S.

   249, 259, 114 S.Ct. 798, 127 L.Ed.2d 99 (1994), and is defined as “any individual, partnership,

   corporation, association, or other legal entity, and any union or group of individuals associated

   in fact although not a legal entity,” 18 U.S.C. § 1961(4); see also Turkette, 452 U.S. at 581–

   82, 101 S.Ct. 2524 (describing two categories of enterprises: “legal entities” and associations).

   But “[t]he ‘enterprise’ is not the ‘pattern of racketeering activity’; it is an entity separate and

   apart from the pattern of activity in which it engages.” Turkette, 452 U.S. at 583, 101 S.Ct.

   2524. Rather: The former is proved by evidence of an ongoing organization, formal or

   informal, and by evidence that the various associates function as a continuing unit. The latter

   is proved by evidence of the requisite number of acts of racketeering committed by the
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   participants in the enterprise. Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479,

   at *16–17 (S.D. Iowa Mar. 20, 2020). The ultimate inquiry is “whether the enterprise

   encompasses more than what is necessary to commit the predicate RICO offense.” Diamonds

   Plus, Inc. v. Kolber, 960 F.2d 765, 770 (8th Cir. 1992). Thus, to state a claim under § 1962(c),

   a complaint must allege the existence of an enterprise that “would still exist were the predicate

   acts removed from the equation.” Crest Const. II, 660 F.3d at 354–55 (quoting Handeen, 112

   F.3d at 1352). Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *17 (S.D.

   Iowa Mar. 20, 2020) “Legal entities are garden-variety ‘enterprises’ which generally pose no

   problem of separateness from the predicate acts.” Bennett v. Berg, 685 F.2d 1053, 1060 (8th

   Cir. 1982); see also id. (“An enterprise is particularly likely to be found where ... the enterprise

   alleged is a legal entity rather than an ‘associational enterprise.’ ”). Kruse v. Repp, No.

   419CV00106SMRSBJ, 2020 WL 1317479, at *17 (S.D. Iowa Mar. 20, 2020).

69. At all times material DEFENDANT AARON WEINREB and Defendants GRINDR, LLC, KL

   GRINDR HOLDINGS, INC., and GRINDR HOLDING COMPANY were an enterprise in that

   they were a “group of individuals associated in fact.” An association-in-fact enterprise consists

   of “a group of persons associated together for a common purpose of engaging in a course of

   conduct” and is “proved by evidence of an ongoing organization, formal or informal, and by

   evidence that the various associates function as a continuing unit.” Boyle, 556 U.S. at 944–45,

   129 S.Ct. 2237 (quoting Turkette, 452 U.S. at 580, 583, 101 S.Ct. 2524). Though § 1961(4)

   “does not specifically define the outer boundaries of the ‘enterprise’ concept,” the idea behind

   an enterprise comprised of “any union or group of individuals associated in fact” is quite

   “obviously broad”: “The term ‘any’ ensures that the definition has a wide reach, and the very

   concept of an association in fact is expansive.” Id. at 944, 129 S.Ct. 2237 (citation omitted).
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   At its core, “an association-in-fact enterprise is simply a continuing unit that functions with a

   common purpose.” Id. at 948, 129 S.Ct. 2237. Kruse v. Repp, No. 419CV00106SMRSBJ,

   2020 WL 1317479, at *17 (S.D. Iowa Mar. 20, 2020) The requisite structural features of an

   actionable association-in-fact enterprise, See Boyle, 556 U.S. at 945–46, 129 S.Ct. 2237, “In

   the sense relevant here, ‘structure’ means ‘[t]he way in which parts are arranged or put together

   to form a whole’ and ‘[t]he interrelation or arrangement of parts in a complex entity.’ ” (citing

   American Heritage Dictionary 1718 (4th ed. 2000))). The first of these, a common purpose.

   Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *18 (S.D. Iowa Mar. 20,

   2020). The second structural feature, relationships among those associated with the enterprise,

   Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *18 (S.D. Iowa Mar. 20,

   2020). The enterprise's longevity, the third structural characteristic of an association-in-fact

   enterprise. Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *18 (S.D. Iowa

   Mar. 20, 2020)

70. At all times material the Defendants had a common purpose of connecting with underage males

   for sex. There exists relationships among these Defendants, and there exists longevity in their

   “enterprise.”

71. At all times material Defendants engaged in a pattern of racketeering activity under RICO. A

   “ ‘pattern of racketeering activity’ requires at least two acts of racketeering activity,” with the

   last occurring within ten years of another prior act. 18 U.S.C. § 1961(5). Congress has defined

   “racketeering activity” to include a panoply of federal and state crimes. See id. § 1961(1). Civil

   liability does not hinge on a RICO defendant's conviction of the predicate acts forming the

   basis of a racketeering allegation. Sedima, 473 U.S. at 493, 105 S.Ct. 3275. The “pattern”

   requirement is quite flexible, too. H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 238–39, 109
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   S.Ct. 2893, 106 L.Ed.2d 195 (1989). Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL

   1317479, at *20 (S.D. Iowa Mar. 20, 2020).

72. The Defendants' pattern of racketeering activity is demonstrated by the following crimes as

   stated above and as covered under 18 U.S.C. 1961(1):



   •   Section 1591 relating to sex acts committed against Plaintiff as covered by section 1591.

   •   18 USCA § 1595. (a) An individual who is a victim of a violation of this chapter may bring
       a civil action against the perpetrator (or whoever knowingly benefits, financially or by
       receiving anything of value from participation in a venture which that person knew or
       should have known has engaged in an act in violation of this chapter) in an appropriate
       district court of the United States and may recover damages and reasonable attorneys fees.

   73. Defendant GRINDR knew or should have known that it was receiving money and other

       value, including advertising revenue, from having underage males as its subscribers who

       were having illegal sex with adult males in violation of 18 USCA Sec. 1595 and 1591.


74. Defendant GRINDR failed to institute age verification procedures when it knew or should have

   known that it was receiving money and other value from having underage males as its

   subscribers who were having illegal sex with adult males in violation of 18 USCA Sec. 1595

   and 1591.


75. All of the above predicate acts are related and amount to or pose a threat of continued criminal

   activity. A RICO plaintiff must plead facts that “show that the racketeering predicates are

   related, and that they amount to or pose a threat of continued criminal activity,” evidencing

   some “continuity plus relationship which combines to produce a pattern.” H.J. Inc., 492 U.S.

   at 239, 109 S.Ct. 2893 (emphasis omitted) (second quote citing 116 Cong. Rec. 18940 (1970)

   (Sen. McClellan)). “Prohibited activities are related if they ‘have the same or similar purposes,
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   results, participants, victims, or methods of commission, or otherwise are interrelated by

   distinguishing characteristics and are not isolated events.’ ” Handeen, 112 F.3d at 1353

   (quoting H.J. Inc., 492 U.S. at 240, 109 S.Ct. 2893). Much like establishing an association-in-

   fact enterprise, “these two constituents of RICO's pattern requirement must be stated

   separately, though in practice their proof will often overlap.” H.J. Inc., 492 U.S. at 239, 109

   S.Ct. 2893. Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *22 (S.D. Iowa

   Mar. 20, 2020)


76. The above illegals activities also amount to or pose a threat of continued criminal activity,

   “Continuity” is both close-ended and open-ended, the former “referring either to a closed

   period of repeated conduct” and the latter demonstrated by “past conduct that by its nature

   projects into the future with a threat of repetition.” Id. at 241, 109 S.Ct. 2893. To plead close-

   ended continuity, a plaintiff in this circuit must state facts that establish “related acts continuing

   over a period of time lasting at least one year.” Crest Const. II, 660 F.3d at 357 (citing citation

   omitted); see H.J. Inc., 492 U.S. at 242, 109 S.Ct. 2893 (requiring “a series of related

   predicates extending over a substantial period of time”). Alternatively, a plaintiff must plead

   open-ended continuity by showing that “the related predicates themselves involve a distinct

   threat of long-term racketeering activity, either implicit or explicit.” H.J. Inc., 492 U.S. at 242,

   109 S.Ct. 2893. But “[p]redicate acts extending over a few weeks or months and threatening

   no future criminal conduct do not satisfy this requirement.” Id. Ultimately, whether the

   predicates alleged demonstrate a threat of continued racketeering activity “depends on the

   specific facts of each case.” Id. Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479,

   at *22 (S.D. Iowa Mar. 20, 2020). The above illegal acts occurred over a period of time lasting
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   at least one year. The above illegal activities also involve a direct threat of long-term

   racketeering activity.


77. Defendants are also liable under a RICO conspiracy. Section 1962(d) makes it unlawful for

   any   person    to   conspire   to   violate RICO's substantive     provisions.   To   state   an

   actionable RICO conspiracy, a plaintiff must plead facts that show (a) “an enterprise existed”;

   (b) “the enterprise affected interstate or foreign commerce”; (c) “the defendant associated with

   the enterprise”; and (d) “the defendant ‘objectively manifested an agreement to participate ...

   in the affairs of [the] enterprise.’ ” Aguilar v. PNC Bank, N.A., 853 F.3d 390, 402 (8th Cir.

   2017) (alterations in original) (quoting United States v. Darden, 70 F.3d 1507, 1518 (8th Cir.

   1995)). In accordance with general conspiracy principles, and contrary to the Bank Defendants'

   position, there is no requirement that any one conspirator itself agree to commit a predicate act

   in furtherance of the conspiracy because, “so long as they share a common purpose,

   conspirators are liable for the acts of their co-conspirators.” Salinas, 522 U.S. at 64, 118 S.Ct.

   469; see also id. at 65, 118 S.Ct. 469 (“The interplay between [§ 1962] subsections (c) and (d)

   does not permit us to excuse from the reach of the conspiracy provision an actor who does not

   himself commit or agree to commit the two or more predicate acts requisite to the underlying

   offense.”). Thus, a RICO conspirator must simply “intend to further an endeavor which, if

   completed, would satisfy all of the elements of a substantive criminal offense, but it suffices

   that he adopt the goal of furthering or facilitating the criminal endeavor.” Id. at 65, 118 S.Ct.

   469. To that end, “[a] conspiracy may exist even if a conspirator does not agree to commit or

   facilitate each and every part of the substantive offense” so long as “[t]he partners in the

   criminal plan ... agree to pursue the same criminal objective.” Id. at 63, 118 S.Ct. 469; see

   also United States v. Kragness, 830 F.2d 842, 860 (8th Cir. 1987) (“RICO conspiracy law, like
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   traditional conspiracy law, requires only that each defendant agree to join the conspiracy ....”).

   A civil RICO plaintiff “need only establish a tacit understanding between the parties, and this

   may be shown wholly through the circumstantial evidence of [each defendant's] actions”; proof

   of an express agreement is not required. Aguilar, 853 F.3d at 402 (alteration in original)

   (citation omitted). But pleading a RICO conspiracy requires more than stating facts showing

   the defendant merely associated with co-conspirators, knew about the conspiracy, and was

   present during conspiratorial discussions. Rosemann v. St. Louis Bank, 858 F.3d 488, 500 (8th

   Cir. 2017). Rather, a plaintiff must demonstrate “that the defendant was aware of the scope of

   the enterprise and intended to participate in it.” Aguilar, 853 F.3d at 402 (citation omitted).

   Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *24–25 (S.D. Iowa Mar. 20,

   2020) An enterprise existed among Defendants. The enterprise affected interstate or foreign

   commerce. The Defendants associated with the enterprise, and the Defendant objectively

   manifested an agreement to participate ... in the affairs of the enterprise.


78. Plaintiff has RICO standing. RICO provides civil remedies to “[a]ny person injured in [her]

   business or property” by reason of the statute's substantive provisions to sue for treble damages

   caused by the enterprise's racketeering activities. 18 U.S.C. § 1964(c). But a plaintiff

   has standing to bring a civil RICO claim “if, and can only recover to the extent that, [s]he has

   been injured in [her] business or property by the conduct constituting the violation.” Sedima,

   473 U.S. at 496, 105 S.Ct. 3275; accord Gomez v. Wells Fargo Bank, N.A., 676 F.3d 655, 660

   (8th Cir. 2012) (“To have standing to make a RICO claim, a party must have 1) sustained an

   injury to business or property 2) that was caused by a RICO violation.” (citation omitted)). The

   alleged RICO violation must be the proximate cause of the plaintiff's injury, that is, there must

   be “some direct relation between the injury asserted and the injurious conduct
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   alleged.” Holmes v. Sec. Inv. Protection Corp., 503 U.S. 258, 268, 112 S.Ct. 1311, 117 L.Ed.2d

   532 (1992). To maintain a civil RICO conspiracy claim, moreover, a plaintiff's injury must

   derive from an act made unlawful under the statute itself: As at common law, a civil conspiracy

   plaintiff cannot bring suit under RICO based on injury caused by any act in furtherance of a

   conspiracy that might have caused the plaintiff injury. Rather, consistency with the common

   law requires that a RICO conspiracy plaintiff allege injury from an act that is analogous to an

   ‘ac[t] of a tortious character,’ meaning an act that is independently wrongful under RICO.

   Kruse v. Repp, No. 419CV00106SMRSBJ, 2020 WL 1317479, at *26 (S.D. Iowa Mar. 20,

   2020).


79. The Defendants violations of, among others, Sex Acts By Force (18 USC 1591) directly caused

   economic injury to Plaintiff. These violations specifically targeted the Plaintiff. Plaintiff was

   the actual target of these illegal activities and thus has proper standing.


80. Plaintiff has incurred attorneys fees, healthcare provider fees, and other economic loss as a

   result.


81. Accordingly, Plaintiff has been damaged in an amount to be determined at the time of trial

   for all available damages under RICO.
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                             THIRD CAUSE OF ACTION
                      FOR DISCRIMINATION UNDER STATE LAW
                            (As against Defendant GRINDR)



82. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

83. New York Executive Law § 296 (2)(a) provides that “It shall be an unlawful discriminatory

   practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

   employee of any place of public accommodation, resort or amusement, because of the race,

   creed, color, national origin, sexual orientation, gender identity or expression, military status,

   sex, disability or marital status of any person, directly or indirectly, to refuse, withhold from

   or deny to such person any of the accommodations, advantages, facilities or privileges thereof,

   including the extension of credit, or, directly or indirectly, to publish, circulate, issue, display,

   post or mail any written or printed communication, notice or advertisement, to the effect that

   any of the accommodations, advantages, facilities and privileges of any such place shall be

   refused, withheld from or denied to any person on account of race, creed, color, national origin,

   sexual orientation, gender identity or expression, military status, sex, disability or marital

   status, or that the patronage or custom thereat of any person of or purporting to be of any

   particular race, creed, color, national origin, sexual orientation, gender identity or expression,

   military status, sex or marital status, or having a disability is unwelcome, objectionable or not

   acceptable, desired or solicited. Executive Law § 296.

84. The term “place of public accommodation, resort or amusement” shall include . . .

   establishments       dealing      with       goods       or     services       of     any       kind

   Executive Law § 292.
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85. Defendant GRINDR is a place of public accommodation under Executive Law 296.

86. Defendant GRINDR discriminated against Plaintiff by allowing him to be sexually assaulted

   on the basis of sex and sexual orientation.

87. Plaintiff hereby makes a claim against Defendant GRINDR under all of the applicable

   paragraphs of Executive Law Section 296.




                          AS A FOURTH CAUSE OF ACTION
                      FOR DISCRIMINATION UNDER STATE LAW
                               (As against all Defendants)


88. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

89. New York State Executive Law §296(6) provides that it shall be an unlawful discriminatory

   practice: "For any person to aid, abet, incite compel or coerce the doing of any acts forbidden

   under this article, or attempt to do so."

90. Defendants GRINDR and WEINREB engaged in an unlawful discriminatory practice in

   violation of New York State Executive Law §296(6) by aiding, abetting, inciting, compelling

   and coercing the discriminatory conduct.
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                         AS A FIFTH CAUSE OF ACTION
                         FOR DISCRIMINATION UNDER
                   THE NEW YORK CITY ADMINISTRATIVE CODE
                          (As against Defendant GRINDR)


91. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

92. The Administrative Code of City of NY § 8-107 states in relevant part, “4. Public

   accommodations. a. It shall be an unlawful discriminatory practice for any person who is the

   owner, franchisor, franchisee, lessor, lessee, proprietor, manager, superintendent, agent or

   employee of any place or provider of public accommodation: 1. Because of any person's actual

   or perceived race, creed, color, national origin, age, gender, disability, marital status,

   partnership status, sexual orientation, uniformed service or immigration or citizenship status,

   directly or indirectly: (a) To refuse, withhold from or deny to such person the full and equal

   enjoyment, on equal terms and conditions, of any of the accommodations, advantages, services,

   facilities or privileges of the place or provider of public accommodation.” New York City,

   N.Y., Code § 8-107, New York City, N.Y., Code § 8-107

93. The term “place or provider of public accommodation” includes providers, whether licensed

   or unlicensed, of goods, services, facilities, accommodations, advantages or privileges of any

   kind. New York City, N.Y., Code § 8-102, New York City, N.Y., Code § 8-102

94. Defendant GRINDR is a place of public accommodation under the Administrative Code of

   City of NY § 8-107.

95. Defendant GRINDR discriminated against Plaintiff by allowing him to be sexually assaulted

   on the basis of sex and sexual orientation.
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96. Plaintiff hereby makes a claim against Defendant GRINDR under all of the applicable

   paragraphs of the Administrative Code of City of NY Title 8.




                          AS A SIXTH CAUSE OF ACTION
                          FOR DISCRIMINATION UNDER
                    THE NEW YORK CITY ADMINISTRATIVE CODE
                           (As against Defendant GRINDR)


97. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   complaint.

98. The New York City Administrative Code Title 8, §8-107(6) provides that it shall be unlawful

   discriminatory practice: "For any person to aid, abet, incite, compel; or coerce the doing of any

   of the acts forbidden under this chapter, or attempt to do so."

99. Defendant GRINDR engaged in an unlawful discriminatory practice in violation of New York

   City Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting, compelling and

   coercing the above discriminatory, unlawful and retaliatory conduct.




                         AS A SEVENTH CAUSE OF ACTION FOR
                                ASSAULT AND BATTERY
                           (As against Defendant Aaron Weinreb)



100. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

101. That the aforesaid occurrences and resultant injuries to Plaintiff were caused by reason of the

   intent, carelessness and recklessness of the individual Defendant WEINREB, his agents,
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   servants and/or employees, suddenly and without provocation did physically assault and batter

   Plaintiff herein and did cause unwelcomed contact, causing the Plaintiff to sustain damages;

   in that the individual Defendant WEINREB did conduct himself in a wanton, willful, reckless

   and heedless manner without regard for safety of the Plaintiff herein; in that said Defendant

   WEINREB was physically abusive; in behaving in a disorderly manner; in using unnecessary,

   excessive and unlawful touching against the Plaintiff; and willfully and maliciously assaulting

   the Plaintiff herein.

102. Plaintiff was damaged thereby.




                       AS AN EIGHTH CAUSE OF ACTION
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                        (As against Defendant Aaron Weinreb)



103. Plaintiff repeats and realleges each and every allegation made in the complaint as if they were

   set forth herein fully at length.

104. Defendant WEINREB’s behavior was extreme and outrageous to such extent that the action

   was atrocious and intolerable in a civilized society.

105. Defendant WEINREB’s conduct was so outrageous in character and extreme in degree as to

   go beyond all possible bounds of decency.

106. Defendant WEINREB caused Plaintiff to fear for Plaintiff’s own safety.

107. Defendant WEINREB’s breach of his duties to Plaintiff caused Plaintiff to suffer numerous

   injuries as set forth herein.
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108. As a result of Defendant WEINREB’s acts, Plaintiff has been damaged in an amount to be

   determined at the time of trial.



          AS A NINTH CAUSE OF ACTION UNDER STATE LAW § 213-C
    BY VICTIM OF CONDUCT CONSTITUTING CERTAIN SEXUAL OFFENSES
            AGGRAVATED SEXUAL ABUSE IN THE FIRST DEGREE
                      (As against Defendant Aaron Weinreb)



109. Plaintiff repeats, reiterates and realleges each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

110. § 130.35 of the New York State Penal Law provides as follows: Rape in the first degree 1 A

   person is guilty of rape in the first degree when he or she engages in sexual intercourse with

   another person: 1. By forcible compulsion; or 2. Who is incapable of consent by reason of

   being physically helpless; or 3. Who is less than eleven years old; or 4. Who is less than thirteen

   years old and the actor is eighteen years old or more. NY CLS Penal § 130.35

111. § 130.50 of the New York State Penal Law provides as follows: Criminal sexual act in the

   first degree 1 A person is guilty of criminal sexual act in the first degree when he or she engages

   in oral sexual conduct or anal sexual conduct with another person: 1. By forcible compulsion;

   or 2. Who is incapable of consent by reason of being physically helpless; or 3. Who is less than

   eleven years old; or 4. Who is less than thirteen years old and the actor is eighteen years old or

   more. NY CLS Penal § 130.50.

112. Section 130.70 of the New York State Penal Law; “Aggravated sexual abuse in the first

   degree” provides that “A person is guilty of aggravated sexual abuse in the first degree when

   he inserts a foreign object in the vagina, urethra, penis or rectum of another person causing

   physical injury to such person:
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(1) By forcible compulsion; or

(2) Who is incapable of consent by reason of being physically helpless; . .

   Aggravated sexual abuse in the first degree is a class B felony.”

113. Defendant WEINREB violated the herein sections as set forth herein.

114. § 213-c of the Civil Practice Law and Rules provides as follows: Action by victim of conduct

   constituting certain sexual offenses: Notwithstanding any other limitation set forth in this

   article, a civil claim or cause of action to recover from a defendant as hereinafter defined, for

   physical, psychological or other injury or condition suffered by a person as a result of acts by

   such defendant of rape in the first degree as defined in section 130.35 of the penal law, or

   criminal sexual act in the first degree as defined in section 130.50 of the penal law, or

   aggravated sexual abuse in the first degree as defined in section 130.70 of the penal law, or

   course of sexual conduct against a child in the first degree as defined in section 130.75 of the

   penal law may be brought within five years. As used in this section, the term "defendant" shall

   mean only a person who commits the acts described in this section or who, in a criminal

   proceeding, could be charged with criminal liability for the commission of such acts pursuant

   to section 20.00 of the penal law and shall not apply to any related civil claim or cause of action

   arising from such acts. Nothing in this section shall be construed to require that a criminal

   charge be brought or a criminal conviction be obtained as a condition of bringing a civil cause

   of action or receiving a civil judgment pursuant to this section or be construed to require that

   any of the rules governing a criminal proceeding be applicable to any such civil action. NY

   CLS CPLR § 213-c. Defendant is civilly liable under § 213-c for violating all of the above

   Sections of the New York State Penal Law as described above.

115. Defendant WEINREB violated the above law as set forth herein.
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                              AS A TENTH CAUSE OF ACTION
                                        NEGLIGENCE
                              (As against all Defendant GRINDR)


116. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

   Complaint as if set forth herein more fully at length.

117. Defendant GRINDR had a duty to Plaintiff to exercise reasonable care in the designing,

   manufacturing, researching, coding, development, promoting, and distribution of its apps and

   other software into the stream of commerce, including a duty to assure that children would not

   have access to their sex platform.

118. In addition to having the above duty, Defendant GRINDR voluntarily undertook the duty to

   represent to the public that children are not able to use their platform. They breached that duty in

   misrepresenting that children are unable to use their platform.

119. Defendant GRINDR was further negligent in stating that children may not use their platform

   when children were, in fact, able to do so and have done so.

120. Defendant GRINDR negligently failed to comply with its own written policies that children

   are unable to use their service as stated in its Terms of Service.

121. Defendant GRINDR negligently failed to warn Plaintiff and/or Plaintiff’s parents that users

   of GRINDR frequently use its site to sexually assault children.

122. As a direct and proximate cause of Defendant GRINDR’s negligence, Plaintiff was sexually

   assaulted and raped.
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                        AS AN ELEVENTH CAUSE OF ACTION
                                 PUNITIVE DAMAGES
123. At all times mentioned herein, Defendants’ conduct was wanton, reckless, intentional,

   malicious, and/or grossly negligent and as such punitive damages are warranted against all

   defendants.




124. Saponaro v Grindr, LLC, 93 F Supp 3d 319 [DNJ 2015] is inapplicable to these facts as the

   opinion did not focus on access or failure to warn or 18 USC 1591, but, instead, focused on

   content. Additionally, the Plaintiff in that case was suing for damages he sustained because

   he thought a 13 year old child with whom he had sex, was an adult. It was not a case brought

   by the minor who was raped. There was also no argument as to misrepresentation made

   therein. To the extent Saponaro is negative case law in any way vis-à-vis this case, Saponaro

   was an erroneous lower court decision, is not controlling law, and any other court should

   decline to follow that case.



                                           JURY DEMAND

   Plaintiff request a jury trial on all issues to be tried.



               WHEREFORE, Plaintiff demands judgment against Defendants, jointly and

   severally in an amount to be determined at the time of trial plus interest, punitive damages,

   attorneys’ fees, costs, and disbursements of action; and for such other relief as the Court deems

   just and proper.
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Dated: New York, New York
   August 16, 2021

                              Yours, etc.,

                              DEREK SMITH LAW GROUP, PLLC

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